                           CASE 0:18-cr-00070-PJS Doc. 12 Filed 07/08/22 Page 1 of 1



                              uNrrFD srAru?",?JsrRrcr couRr frEcFryFe
                                       District of Minnesota       JUL OA
                                                             Ar r_     -- 2022                     ULER.,,^
                                                                                                   -':ff#?'?i,rili.1lgl*.
united states   orAmerica' pbttntffi
v.                                                                    CaseNo.0:18-cr-00070-PJS(Dft 1)

Herman N Smith.

                                             Defendant.

                                                  ARREST WARRANT

To: Any authorized law enforcement officer
     YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be       amested)     Herman N Smith     ,


who is accused of an offense or violation based on the following document filed with the    court: ( ) Order of Court
(   )Indictment        (   )Supersedinglndictment   ( )Information (          )Supersedinglnformation ( )Complaint
(   ) Probation Violation     Petition ( X ) Supervised   Release Violation   Petition (    ) Pretrial Violation Petition




This offense is briefly described as follows:
Violation of Supervised Release



Date:                  June28.2022
                                                                              Kate M. Fogarly, Clerk of Court


Citv and state: Minneanolis. MN
                                                                                   Printed name and title

                                                            Return


     This wanant was received on (date)                         , and the person was arrested on (date)


    (city and state)



Date:
                                                                                Arresting fficer's signature
              ARRESTED ON
              A.RRESTED BY

                              U.S. MARSHAL                                        Printed name   and44*
                                                                                                    ut/ANNEU
              BY
                                                                                                          JUL O 82/J22C|:
                                                                                                   u.s. ptsTgtcT counf,   sr   PAUr
